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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                                      :
 T. MONTANA BELL; RONNIE E.                           :
 JOHNSON; ANGEL MALDONADO;                            :     Case No. 2:22-cv-01516-CRE
 KAREEM MAZYCK, on their own behalf                   :
 and on behalf of all others similarly situated.      :
                                                      :
        Plaintiffs,                                   :
                                                      :     ELECTRONICALLY FILED
                v.                                    :
                                                      :
 GEORGE M. LITTLE, Et al.                             :     JURY TRIAL DEMANDED
                                                      :
        Defendants.                                   :
                                                      :
                                                      :


                                             NOTICE

       This Notice is submitted pursuant to this Court’s Order of June 2, 2023 that “Plaintiffs

shall file a Notice with the Court by 6/9/2023 indicating the date they expect ot have the motion

seeking leave to file a Second Amended Complaint filed.” ECF No. 67.

       Plaintiffs intend to file a motion seeking leave to file a Second Amended Complaint no

later than August 1, 2023.

       Plaintiffs in this matter have raised numerous constitutional and statutory claims, are

seeking class certification, and have alleged copious facts serving as the bases for these claims.

Counsel have been diligently investigating these facts and claims while communicating with

Plaintiffs, and anticipate needing several more weeks to finalize factual investigation, drafting,

and reviewing and revising the proposed Second Amended Complaint with Plaintiffs. This

timeframe allows for counsel to complete the necessary legal correspondence, legal calls, and

visitation with clients who are now no longer all in the same prison (one has been released; one

is at SCI Phoenix) and to incorporate feedback so that the eventual filing has their joint approval.
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Respectfully submitted,

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                               CERTIFICATE OF SERVICE

            I hereby certify that I served a copy of this Notice upon all defendants via ECF.


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Dated: June 9, 2023
